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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :       Case No.: 21-CR-382 (PLF)
CHRISTOPHER WARNAGIRIS,                       :
                                              :
                       Defendant.             :


               UNITED STATES RESPONSE TO DEFENSE MOTION ECF No. 61

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia and undersigned counsel, respectfully opposes Defendant Christopher

Warnagiris’ motion to compel the government to produce an exhibit list immediately, three weeks

before the date set by the Court in its scheduling order: October 7, 2023. See ECF No. 59.

       Warnagiris argues that the Court’s timeline is insufficient because he needs more time “to

determine if there are any pieces of discovery that call for the filing of a Motion to Suppress.” ECF

No. 61. The defendant disregards the Court’s trial experience, which the Court undoubtably drew

upon in setting pre-trial deadlines, and asks the government to do his work for him. There is no

reason that the defendant must wait to receive the government’s exhibit list before deciding

whether there is any evidence he wants to try to get suppressed.

       There are no surprises here. First, pursuant to Rule 16, the government provided case-

specific discovery soon after he was indicted. Warnagiris has had ample opportunity to review

that case-specific evidence and evaluate whether any of it is subject to a viable, good faith motion

to suppress. Meanwhile, the government has provided Warnagiris and every other January 6
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defendant with general discovery on an ongoing basis, as the government obtains that general

evidence. ,. 1

        Across January 6-related cases and trial, the government often relies on the same set of

general exhibits to establish that the Capitol grounds and building were a restricted area on that

date and that the mob’s actions constituted a civil disorder. The government not only provided

those exhibits in general discovery but has also published them to the public. Should counsel wish

to review those common foundational exhibits and file any pre-trial motions concerning them,

counsel already has the means to do so. Rule 16 requires nothing further from the government.

Meanwhile, the Court set an October 7, 2023, deadline for the parties to exchange exhibit lists and

exhibits. See ECF No. 59. The government will comply with the Court’s scheduling order. In

addition, The Court’s Order, ECF No.64, permitting parties to move for leave to file new motions

cures any concerns Defendant Warnagiris may have about filing timing.

        The government intends to go beyond complying with the Court’s scheduling order.

Though the Court does not direct the government to do so, prior to October 7, 2023, the government

will begin an early and rolling production of the exhibits themselves to the defense. For the

foregoing reasons, the Court should deny ECF No. 61, the defendant’s motion to compel the

government to produce its exhibit list earlier than required by the Court’s scheduling order.


                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052



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  Both the case-specific and general January 6 discovery productions have identified and
itemized the evidence for Defendant Warnagiris and his counsel via discovery letters. The
government will reproduce each letter and production if counsel has failed to maintain the letters
and evidence as apart of the Defense case file.
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